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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :      CASE NO. 1:21-cr-00225-DLF-1
               v.                             :
                                              :
TRENISS JEWELL EVANS III,                     :
                                              :
                        Defendant.            :


                         NOTICE OF SUBSTITUTION OF COUNSEL

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that the above-captioned matter is now assigned to

Trial Attorney Francesco Valentini, detailed to the United States Attorney’s Office for the District

of Columbia. Please remove Christopher B. Brown as counsel of record and from the electronic

notification process.



                                      Respectfully submitted,

                                      MATTHEW M. GRAVES
                                      UNITED STATES ATTORNEY
                                      D.C. Bar No. 481052

                              By:     /s/ Francesco Valentini
                                      Francesco Valentini
                                      D.C. Bar No. 986769
                                      Trial Attorney
                                      United States Department of Justice, Criminal Division
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                                CERTIFICATE OF SERVICE

       I certify that, on April 25, 2022, an electronic copy of the foregoing was served on counsel

for the defendant via the Court’s ECF system.

                                     /s/ Francesco Valentini
                                     Francesco Valentini
